 Case 3:20-cv-00579-RJD Document 57 Filed 09/26/22 Page 1 of 1 Page ID #417

                IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ILLINOIS

MICAH ASHER JEFFERSON,                    )      CASE NO. 20-cv-579-RJD
                                          )
              Plaintiff,                  )
                                          )
       vs.                                )
                                          )
STEPHEN KESSLER, et al.,                  )
         Defendants.                      )

                            JUDGMENT IN A CIVIL CASE

       This matter having come before the Court, the issues having been heard, and the

Court having rendered its decision.

       IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the Order

entered by this Court on September 26, 2022, judgment is entered in favor of Defendants

against Plaintiff. This matter is DISMISSED with prejudice.



       DATED: September 26, 2022                 MONICA A. STUMP
                                                 CLERK OF COURT

                                                 By: s/ Jamie Melson
                                                    Deputy Clerk


APPROVED:

s/ Reona J. Daly
HON. REONA J. DALY
UNITED STATES MAGISTRATE JUDGE
